                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


BRAND LITTLE, et al.,                               Case No. 23-cv-01098-AGT
                Plaintiffs,
                                                    ORDER ON MOTIONS TO DISMISS
       v.                                           FIRST AMENDED COMPLAINT
PACIFIC SEAFOOD PROCUREMENT,                        Re: Dkt. Nos. 189, 199, 200, 205
LLC, et al.,
                Defendants.


       In their first amended complaint, plaintiffs dropped their monopsony claim and built

out their price-fixing claim. The latter claim is no longer based on general allegations of an

industry-wide buyer’s cartel; it is based on pleaded facts plausibly supporting that Pacific

Seafood fixed the price that it and other major buyers of Dungeness crab paid crabbers.

       The pleaded facts include:

            •    Text messages in which buyers indicated that Pacific Seafood would set
                 the price for Dungeness crab. See, e.g., FAC ¶¶ 198, 217 (“I’m waiting
                 [for the] big boss [to] give out [the] price.” “Will [be] [m]atching the big
                 boss.”); id. ¶¶ 198–99 (identifying Pacific Seafood’s principal, Frank
                 Dulcich, as the “big boss”); id. ¶ 225 (“[Pacific Seafood] will make the
                 decision. Could be as high as 2.25.”); id. ¶ 224 (“3 does not work[.] 1.85-
                 2.00 is the number and that is where [Pacific Seafood] will be.”); id.
                 ¶ 180 (“What’s price doing? Hearing Pacific is raising to $3.25.”).

            •    A December 2023 meeting at which Pacific Seafood and other buyers
                 “expressed a uniform position [that] they did not want to offer crabbers
                 more than $2.50/lb. as an opening ex vessel price.” Id. ¶ 228.1

1
  Defendants say this meeting was “part of state-sanctioned and supervised pricing negotia-
tions between ex vessel buyers and crabbers.” Omnibus MTD, Dkt. 189 at 32. The amended
           •   A December 2023 email from Pacific Seafood to other buyers, “instruct-
               ing them to keep the ex vessel price at or below $3/lb.” FAC ¶ 349.

           •   A January 2024 meeting at Pier 45 in San Francisco, during which Pa-
               cific Seafood and other buyers discussed the ex vessel price they planned
               to offer and complained about a buyer, Confidential Buyer Informant # 1
               (“CBI #1”), who was offering a higher price. See id. ¶¶ 334–36.

           •   Buyers’ attempts to coerce CBI #1 to match Pacific Seafood’s price. See,
               e.g., id. ¶ 296 (identifying buyers who told CBI #1 “he was screwing
               things up for everyone else and needed to lower [his] ex vessel price”);
               id. ¶ 301 (alleging that CBI #1 received calls and texts from buyers who
               tried to convince him to follow what they called the “cooked price”); id.
               ¶ 308 (detailing a call in which one buyer asked CBI #1 to “participate”
               by “bringing down the ex vessel price he was paying”).

           •   Buyers’ efforts to retaliate against CBI #1 after he didn’t adopt the
               group’s price. See, e.g., id. ¶ 320 (alleging that Pacific Seafood and an-
               other buyer pressured the Charleston, Oregon, harbormaster to deny CBI
               #1 “use of the public hoist”); id. ¶ 342 (alleging that Pacific Seafood and
               another buyer broadcast “that they would take everyone’s crab, as long
               as no one sold to or bought from [CBI #1]”); id. ¶ 398 (alleging that buy-
               ers told “crabbers that if they didn’t stop buying from [CBI #1], they’d
               close their doors”).

       These and other allegations in the first amended complaint “raise a reasonable ex-

pectation that discovery will reveal evidence of [an] illegal agreement” to fix prices. Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007). Courts “categorically condemn” horizontal

price-fixing agreements of the kind pleaded here, in which competitors “agree to charge the

same prices.” Honey Bum, LLC v. Fashion Nova, Inc., 63 F.4th 813, 819–20 (9th Cir. 2023).

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complaint says nothing of the sort, and the Court declines to take judicial notice of the truth
of statements made in meeting minutes and related records whose accuracy cannot be deter-
mined on a motion to dismiss. See RJN, Dkt. 189-1 at 3–4; Khoja v. Orexigen Therapeutics,
Inc., 899 F.3d 988, 999 (9th Cir. 2018) (“[A] court cannot take judicial notice of disputed
facts contained in . . . public records.”); In re Tracht Gut, LLC, 836 F.3d 1146, 1150 (9th
Cir. 2016) (“At the motion to dismiss phase, the trial court must accept as true all facts
alleged in the complaint and draw all reasonable inferences in favor of the plaintiff.”).


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       Having determined that plaintiffs have plausibly alleged a price-fixing agreement in

violation of Sherman Act § 1, the Court considers the other issues raised by defendants in

their motions to dismiss—whether plaintiffs have antitrust standing, whether their claims are

time-barred, whether each defendant plausibly participated in the alleged conspiracy, and

whether plaintiffs’ other claims are well-pleaded.

1.     Antitrust Standing

       The named plaintiffs, Brand Little and Robin Burns, plausibly allege that they were

injured by the price-fixing conspiracy, triggering antitrust standing.

       A commercial fisherman, Little sold Dungeness crab to Unnamed Co-conspirator #1

(“UCC #1”) in four of the last five seasons. See FAC ¶ 12. UCC #1 plausibly participated in

the conspiracy. After Pacific Seafood’s representative “paid [UCC #1] a visit and pointedly

told him Pacific Seafood was only paying $2.25 ex vessel,” UCC #1 “lowered the price” he

was offering. Id. ¶ 345. UCC #1 told Little “he’d like to pay [him] more” but couldn’t be-

cause defendants “directed him to pay a lesser amount.” Id. ¶ 278.

       UCC #1 may have participated in the conspiracy “involuntarily or under coercion,”

but he participated nonetheless, making him a co-conspirator. City of Vernon v. S. Cal. Edi-

son Co., 955 F.2d 1361, 1371 (9th Cir. 1992). Little was plausibly injured by the conspiracy

when he sold crab to UCC #1 at the conspiracy’s fixed, deflated price. See In re Nat’l Foot-

ball League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1157 (9th Cir. 2019).2

       As for named plaintiff Robin Burns, her late husband was a fisherman who sold Dun-

geness crab to several defendants. See FAC ¶ 13 (alleging sales to Pacific Seafood [2016/17,



2
 Having concluded that Little was plausibly injured when he sold crab to UCC #1, the Court
needn’t consider whether Little’s other crab sales support standing, too. See FAC ¶ 12.



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2018/19, 2019/20 seasons]; Nor-Cal Seafood, Inc. [2019/20]; and American Seafood Exp,

Inc. [2020/21], among other sales). Now that her husband is deceased, Burns plausibly has

antitrust standing as her husband’s successor in interest. See Cal. Civ. Proc. Code §§ 377.11,

-.30; FAC ¶ 13 (alleging that Burns “stands in the place of her late husband”).

        Burns needn’t allege that her husband expressly assigned his claims to her, as de-

fendants contend. Defendants haven’t cited any precedent that would require a widow to

plead an express assignment before pursuing her late husband’s claims. Cf. Omnibus MTD,

Dkt. 189 at 47 (citing decisions3 considering the assignment of claims between corporate

entities, patients and their healthcare providers, and a company and its shareholders).

2.      Statute of Limitations

        Both named plaintiffs sold crab to alleged conspiracy members within the four years

before they filed this lawsuit. See FAC ¶¶ 12–13 (alleging sales in 2020 and 2021, among

other years). As a result, plaintiffs’ claims aren’t barred by the statute of limitations even if,

as defendants argue, tolling doesn’t apply. See Omnibus MTD, Dkt. 189 at 43.

        In invoking the statute of limitations, defendants focus on the class period, which, as

proposed, would reach from January 1, 2016, to the present. See FAC ¶ 12. Defendants con-

tend that the proposed class period covers claims barred by the statute of limitations and that

tolling doesn’t apply. See Dkt. 189 at 43 (arguing that “claims based on sales prior to March

13, 2019—four years before the date the original Complaint was filed—are time-barred”).

        The Court needn’t consider the length of the class period now. What matters on a



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 See Gulfstream III Assocs., Inc. v. Gulfstream Aerospace Corp., 995 F.2d 425, 437–40 (3d
Cir. 1993); In re WellPoint, Inc. Out-of-Network UCR Rates Litig., 903 F. Supp. 2d 880,
895–98 (C.D. Cal. 2012); Korea Kumho Petrochemical v. Flexsys Am. LP, No. C07-010577-
MJJ, 2007 WL 2318906, at *3 n.2 (N.D. Cal. Aug. 13, 2007).



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motion to dismiss is whether the named plaintiffs have pled timely claims, which they have.

“A motion to dismiss under Rule 12(b)(6) doesn’t permit piecemeal dismissals of parts of

claims . . . ,” BBL, Inc. v. City of Angola, 809 F.3d 317, 325 (7th Cir. 2015), or, by implica-

tion, piecemeal dismissals of portions of a proposed class period. The Court will defer ruling

on the appropriate class-period length until plaintiffs move for class certification.

3.       Participation in the Conspiracy

         With limited exception, plaintiffs plausibly allege that each defendant joined the con-

spiracy. Pacific Seafood set the opening price offered to crabbers. See FAC ¶ 175. The other

defendants adopted the same price and pressured others to do the same.

    Defendants                               Allegations


    Pacific Seafood                          In February 2023, in Crescent City, CA, de-
    Safe Coast Defendants4                   fendants’ representatives “told [CBI #1] their
    Nor-Cal Defendants                       agreed ex vessel price in Crescent City was
    Global Quality Defendants                $2.25/lb.” Id. ¶ 281.
    Caito Defendants
    Fishermen’s Catch, Inc.
    American Seafood Exp, Inc.


    Bornstein Defendants                     In August 2023, Mike Shirley and Andrew
                                             Bornstein of Bornstein Seafoods, Inc., called
                                             and texted CBI #1, informing him about the
                                             “cooked price” for Dungeness crab. Id. ¶ 301.


    Safe Coast Defendants                    In November 2023, Safe Coast Seafoods LLC’s
                                             Max Boland sent a series of texts to CBI #1, in-
                                             forming him that Pacific Seafood would set the
                                             ex vessel price paid at the opening of the
                                             2023/24 Dungeness crab season. See id. ¶ 223;
                                             id. ¶ 224 (“3 does not work[.] 1.85-2.00 is the


4
  The umbrella terms used in this section, i.e., the “Safe Coast Defendants,” are each used to
refer to groups of entity defendants, all of which are identified in the complaint. See id.
¶¶ 40–126. In total, there are 13 defendant groups and 35 defendants.



                                               5
                                    number and that is where [Pacific Seafood] will
                                    be.”); id. ¶ 225 (“PAC will make the decision.
                                    Could be as high as 2.25.”).


Nor-Cal Defendants                  In December 2023, Kevin Lee of Nor-Cal Sea-
                                    food, Inc., called CBI #1 and asked him to “par-
                                    ticipate” by bringing down the ex vessel price
                                    he was paying. Id. ¶ 308. Lee told CBI #1 to
                                    “keep the price the same as Nor-Cal’s,” id.
                                    ¶ 309, and noted that “Hallmark was doing the
                                    same [as] Nor-Cal, matching ex vessel prices
                                    and taking care of each other,” id. ¶ 310.


Pacific Seafood                     At a December 2023 meeting, defendants’ rep-
Bornstein Defendants                resentatives “expressed a uniform position
Safe Coast Defendants               [that] they did not want to offer crabbers more
Fathom Defendants                   than $2.50/lb. as an opening ex vessel price.”
Hallmark Defendants                 Id. ¶ 228.


Pacific Seafood                     In January 2024, Fathom Seafood’s Nick Ma-
Fathom Defendants                   reno and Pacific Seafood’s representatives or-
                                    chestrated an effort to deny CBI #1 access to
                                    the public hoist in Charleston, Oregon, after
                                    CBI #1 refused to match their ex vessel price.
                                    See id. ¶¶ 317–33.


Pacific Seafood                     In January 2024, representatives of defendants
Safe Coast Defendants               and Unnamed Co-conspirators #1 and #2 met at
Hallmark Defendants                 Pier 45 in San Francisco. Id. ¶ 334. Afterward,
Global Quality Defendants           Safe Coast’s Max Boland told CBI #1 that “the
Fishermen’s Catch, Inc.             group was upset with [CBI #1] for broadcasting
Unnamed Co-conspirators #1 and #2   to crabbers a higher opening price than what
                                    Pacific Seafood and the other big buyers
                                    wanted, and that there would be repercussions.”
                                    Id. ¶ 335; see also id. ¶¶ 336–43 (detailing the
                                    repercussions that followed the meeting).


Pacific Seafood                     Following the Pier 45 meeting, Pacific Sea-
Ocean Gold Seafoods, Inc.           food’s and Ocean Gold’s representatives en-
                                    forced the group’s set price by “broadcast[ing]
                                    to other buyers that they would take everyone’s
                                    crab, as long as no one sold to or bought from




                                      6
                                              [CBI #1].” Id. ¶ 342; see also id. ¶¶ 397–98.

        Southwind Foods LLC also plausibly participated in the conspiracy, as successor to

Caito Fisheries, Inc. Southwind purchased Caito Fisheries, Inc., in the spring of 2023. FAC

¶ 92. Caito Fisheries, Inc.’s principal told CBI #1 that the sale “was done in reaction to the

filing of the instant case,” id. ¶ 93, plausibly to evade liability. See also id. ¶ 65 (alleging

that Nor-Cal’s principal considered Caito’s sale to Southwind an example of how to “evade

liability from the instant lawsuit”). A “purchaser of a company . . . assume[s] the seller’s

liabilities” if “the transfer of assets to the purchaser is for the fraudulent purpose of escaping

liability for the seller’s debts.” In re Graphics Processing Units Antitrust Litig., 527 F. Supp.

2d 1011, 1031 (N.D. Cal. 2007) (citing Ray v. Alad Corp., 19 Cal. 3d 22, 28 (1977)). Plain-

tiffs plausibly allege such a fraudulent transfer here.

        Also, since the spring 2023 acquisition, Caito Fisheries, Inc., “has continued to buy

ex vessel crab, as Caito Fisheries LLC.” FAC ¶ 274. As alleged, Caito Fisheries LLC has

deferred to Pacific Seafood’s ex vessel pricing decisions, implicating Caito Fisheries LLC

in the conspiracy as well. See id. ¶ 226 (alleging that in November 2023, John Caito told

CBI #1 that “Caito would not set an opening ex vessel price until Pacific Seafood did”).5

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        The only defendants not plausibly implicated in the conspiracy are South Bend Prod-

ucts LLC, Swanes Seafood Holding Co., and Ocean King Fish, Inc.

        South Bend Products LLC and Swanes Seafood Holding Co. “collectively do . . .




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  The Court takes judicial notice of the Caito Defendants’ articles of incorporation and re-
lated formation documents. See Dkt. 206. The documents’ existence doesn’t conflict with
plaintiffs’ allegations, and to the extent the documents raise disputed factual issues, those
issues must be resolved later in the case. See Khoja, 899 F.3d at 999.


                                                7
business as ‘South Bend.’” FAC ¶ 116. Plaintiffs allege that the South Bend Defendants

leased the public hoist and related dock facilities in Eureka, id. ¶¶ 267–69; unloaded crabs

with the hoist, id. ¶ 272; and sold crabs to several conspiracy members, id. ¶ 273.

       The South Bend Defendants could have had “rational, legal business [reasons]” for

leasing a public hoist, unloading crab, and selling crab to several conspiracy members. In re

Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1194 (9th Cir. 2015). No well-

pleaded factual allegations indicate that they agreed to Pacific Seafood’s fixed price. Neither

company is plausibly implicated in the conspiracy.

       As for Ocean King Fish, Inc., in 2021, an Ocean King representative texted a Born-

stein representative about ex vessel pricing. See FAC ¶¶ 187–191; 236–240. The texts show

that Ocean King knew about Pacific Seafood’s ex vessel price and wanted to know if Born-

stein would adopt it. See, e.g., id. ¶ 237 (asking Bornstein, “Will you be matching the

price?”). In the texts, though, Ocean King never agreed to Pacific Seafood’s price, and Ocean

King’s curiosity, without more, doesn’t plausibly implicate the company in the conspiracy.

       All defendants plausibly participated in the conspiracy except South Bend Products

LLC, Swanes Seafood Holding Co., and Ocean King Fish, Inc.

4.     Other Claims

       In addition to their Sherman Act § 1 price-fixing claim, plaintiffs bring claims under

California’s Cartwright Act and Unfair Competition Law, Cal. Bus. & Prof. Code §§ 16720,

17200, and for declaratory relief, 28 U.S.C. § 2201. These claims mirror the § 1 claim, and

defendants seek their dismissal on the same grounds as the § 1 claim. Finding that those

grounds lack merit, with the limited exceptions identified above, the Court concludes that

plaintiffs’ Cartwright Act, UCL, and declaratory relief claims are well pleaded.




                                              8
                                      CONCLUSION

       The Court denies defendants’ omnibus motion to dismiss (dkt. 189), except the Court

grants the motion as to all claims against defendant Ocean King Fish, Inc. Plaintiffs’ allega-

tions don’t plausibly implicate Ocean King in the price-fixing conspiracy.

       The Court grants South Bend Products LLC’s and Swanes Seafood Holding Co.’s

motions to dismiss (dkts. 199, 200). Plaintiffs’ allegations don’t plausibly implicate either

South Bend Defendant in the price-fixing conspiracy.

       The Court denies Caito Fisheries LLC and Southwind Foods LLC’s motion to dis-

miss (dkt. 205). Caito Fisheries LLC and Southwind Foods LLC are plausibly implicated in

the conspiracy as the successors of Caito Fisheries, Inc.

       Plaintiffs have leave to amend their complaint for the limited purpose of adding fac-

tual allegations against Ocean King and the South Bend Defendants. If plaintiffs choose to

file a second amended complaint, they must file it by February 7, 2025. If plaintiffs decide

not to amend, defendants must answer the operative complaint by February 21, 2025.

       IT IS SO ORDERED.

Dated: January 17, 2025


                                                  ______________________________
                                                  Alex G. Tse
                                                  United States Magistrate Judge




                                              9
